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                          UNITED STATES DISTRICT COURT                JAN   8 2019
                          EASTERN DISTRICT OF VIRGINIA
                                Norfolk Division



  COLUMBIA GAS TRANSMISSION, LLC,



                    Plaintiff,

  V.                                                      Civil No. 2:17cv483


  GROVE AVENUE DEVELOPERS, INC.,



                    Defendant.




                                OPINION and ORDER


         This   matter   is   before the    Court following a bench          trial

  resulting from an easement dispute in which both parties seek a

  declaratory     judgment.      Such   dispute    arises   from    Grove   Avenue

  Developers, Inc.'s (''Grove" or "Defendant") desire to construct an

  asphalt   roadway      crossing    over   two   high   pressure   natural    gas

  pipelines (the "Pipelines") operated by Columbia Gas Transmission,

  LLC ("Columbia" or "Plaintiff").          Col\jmbia filed the instant action

  seeking an injunction and declaratory judgment prohibiting Grove

  from   building   the    planned    roadway across     Columbia's    easement.

  Grove, in turn, seeks a declaration that it be allowed to construct

  the proposed roadway because such crossing does not unreasonably

  interfere with Columbia's easement rights.
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                              I. Findings of Fact

                             A. Preliminary Summary

       It is undisputed that the real property that Grove seeks to

 develop into a small condominium complex is owned by Grove subject

 to Columbia's easement to **lay, maintain, operate and remove a

 pipe line, or pipe lines."            EOF No. 20-2.     Although Columbia is

 the   holder   of   the    dominant    estate,   the   teirms     of   the   written

 easement    require       Columbia    to   maintain    its   Pipelines       ''below

 cultivation, so that the Grantors may fully use and enjoy the

 premises, subject to the right of the Grantee to maintain and

 operate said line or lines."           Id.

       Notwithstanding Columbia's view that it has the authority to

 categorically prohibit Grove (and presumably other landowners)

 from constructing any roads across Columbia's buried transmission

 pipelines, Coliimbia is willing to allow a crossing on Grove's

 property, but only if Grove first agrees to pay for the following

 costly   mitigation       measures:^   (1)   excavation      of    the   Pipelines

 passing under the proposed roadway; (2) removal of the Pipelines'

 protective coatings to allow a visual inspection of the Pipelines,

 followed by installation of new protective coatings; and (3) the



 ' A degree of confusion exists as to whether Coliiinbia asserts that it has
 the legal authority to block any and all crossings irrespective of the
 manner of construction. It appears to the Court that Columbia's viewpoint
 is that it could block all crossings, but that it does not seek to do so,
 either in this case, or in similar factual scenarios (as reflected in
 Columbia's own published policies and procedures).
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 installation     of   "flowable   fill"   over    and    around   the   excavated

 Pipelines.2 Grove, however, maintains that the mitigation measures

 demanded by Columbia, which are estimated to cost several hundred

 thousand dollars, are unnecessary because the scientific evidence

 demonstrates that Grove's proposed crossing will not endanger the

 integrity of Columbia's buried Pipelines.                 Grove also disputes

 Col\ambia's contention that the road crossing proposed by Grove, by

 its   nature,    unreasonably     interferes      with   Columbia's     right   to

 maintain, inspect, and repair its pipelines.               Each party's trial

 evidence   hinged,     in    large   part,   on    the    testimony     of   their

 respective expert witness.

                              B. Stipulated Facts^

       1. Columbia is a Delaware limited liability company . . .

 [that]    maintains    and   operates     approximately      15,000     miles   of

 natural    gas    transmission       pipeline     throughout      the   country,

 including hundreds of miles of pipeline in Virginia.

       2. Grove Avenue is a Virginia corporation . . . [that] owns

 certain land in the City of Suffolk, Virginia (the ''Property").

       3. Grove Avenue acquired ownership of the Property by deed.




 ^ As described at trial, "flowable fill" is a pourable mixture similar to
 concrete that, when mixed correctly, can be excavated with hand tools.

 ^ The following facts were stipulated by the parties prior to trial.            EOF
 Nos. 20, 40. The Court has altered the numbering on such stipulated facts
 and omitted certain additional stipulations for the sake of brevity.
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       4. On or about October 12, 1950,          Victoria Rountree    (''Ms.

 Rountree")      and        Commonwealth    Natural     Gas     Corporation

 ("Commonwealth")      executed an agreement granting Commonwealth a

 right of way through the Property for the installation, operation

 and maintenance of one or more pipelines (the "Easement") in

 exchange for the payment of $568.00.

       5. On or about November 16, 1964, Commonwealth and Rountree

 Dairy, Inc., the then-owner of the Property ("Rountree Dairy,"

 together with Ms. Rountree, the "Original Grantors") entered into

 a modification agreement clarifying the width and location of the

 easement created under the Right of Way Agreement.

       6. The Right of Way Agreement and the Modification Agreement

 (together, the "ROW Agreements") created a valid and enforceable

 Easement and right-of-way across the Property.

       7.   Columbia   is    the   successor-in-interest   to   Commonwealth

 under the ROW Agreements and, therefore, possesses all the rights

 of Commonwealth under the ROW Agreements.

       8. Grove Avenue is the successor-in-interest to the Original

 Grantors under the ROW Agreements with respect to the Property

 and, therefore, possesses all the rights of the Original Grantors

 under the ROW Agreements.

       9. The Easement is 80 feet in width and runs parallel to

 Hillpoint Boulevard along the northern edge of the Property.
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       10. Pursuant to the ROW Agreements, Columbia operates and

 maintains two high pressure natural gas transmission pipelines

 known as Lines VM107 and VM108 (the ''Pipelines").

       11.   VM107   was   installed   in   or   about   1950   and   VM108   was


 installed in or about 1961.


       12. Line VM107 is a twelve (12) inch in diameter high-pressure

 natural gas transmission pipeline.

       13.   Line VM108    is   a sixteen (16) inch in          diameter high-

 pressure natural gas transmission pipeline.

       14. Line VM107 and Line VM108 were installed below cultivation


 on the Property and are within the width of the Easement.

       15. The Pipelines are a substantial source for the delivery

 of natural gas to the Tidewater area of Virginia.

       16.   Columbia's    daily   revenue   from    the   operation    of    the

 Pipelines exceeds $45,000.00.

       17. The segment of the Pipelines at issue in this case is a

 "high consequence area" as described by 49 CFR § 192.903.

       18. Grove Avenue intends to engage in certain construction

 activities, including the construction of a twenty-six (26) foot

 wide paved asphalt roadway crossing over the Pipelines and the

 installation of a water line under the Pipelines (collectively,

 the "Construction Activities").^



 '* Prior to trial, the parties disputed whether a water line desired by Grove
 and crossing under Columbia's Pipelines could be safely/lawfully installed
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       19. The Construction Activities are part of Grove Avenue's

 planned 17-unit housing development to be known as Addison Place

 Condominiums.


       20. Based on the available data concerning the condition of

 the   Pipelines,   it   is    Columbia's    contention   that   no   work   is

 currently    required    on     the   Pipelines    absent   the      proposed

 construction of a road by Grove Avenue.

             C. Facts Determined by the Court as Factfinder

                      1. Testing Protocol & Repairs

       21. Columbia performs various testing procedures to monitor

 the integrity of its Pipelines, including aerial surveillance,

 ground surveillance, testing of the ''cathodic protection system"

 designed to prevent the steel Pipelines from corroding, and ''pig"

 surveys that inspect and test the Pipelines from the inside.

       22. Columbia obtains the most detailed Pipeline integrity

 information through the use of a "smart pig," which is an in-line

 inspection tool that is run through the inside of the Pipelines

 every seven years to gather information on anomalies such as dents,

 cracks,   wall   loss   from   corrosion,    and   manufacturing     defects.




 without first excavating Columbia's Pipelines. Such issue was resolved by
 the parties after Grove learned that there is a cost-effective manner to
 "bore" the water line under the Pipelines using a method that comports with
 Columbia's requirements.   Grove alternatively notes that the water-line
 dispute, even if not resolved, could be avoided entirely as Grove has a
 feasible, albeit more expensive, option of routing its water line to an
 adjacent property that would not involve crossing Columbia's Pipelines.
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 Columbia's Pipelines on the Property were last "pigged" in 2013

 and 2014.


        23. The Pipelines' "cathodic protection" system is tested at

 defined monitoring stations (none of which are located at the

 proposed crossing), and it can also be tested through a "close

 interval survey" where a corrosion         technician walks along the

 pipeline and takes a soil reading every four to ten feet to ensure

 that the cathodic protection system is functioning properly.           Such

 close interval testing could not be conducted on the twenty-six

 foot stretch of the Pipelines that would be covered by the asphalt

 crossing unless the technician first drilled through the asphalt.

        24.   The trial record indicates that Columbia complies with

 federal testing requirements by performing a close-interval test

 on each side of road crossings, and if testing under a road becomes

 necessary, a hole can be drilled through the asphalt.             Columbia

 failed to demonstrate that such drilling procedure, in the unlikely

 event that it becomes necessary, is time consuming or expensive,

 with    Columbia's     expert   aclcnowledging     that   the    corrosion

 technicians have the capability to test the soil under an asphalt

 road by drilling any necessary holes.

        25. The proposed twenty-six-foot-wide asphalt crossing would

 have virtually no impact on the majority of Columbia's testing

 procedures, as aerial surveillance, ground surveillance, cathodic

 testing at defined stations, and "pig" testing could all proceed
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 unimpacted; moreover, the minimal impact to the                         close interval

 surveys" are just that, minimal.

        26. Although Columbia presented some evidence regarding the

 risks of delayed leak detection and/or gas ''migration" should a

 leak   occur    under       the    proposed       road,    Columbia's    case-specific

 evidence regarding these risks was both limited and uncompelling.

        27. Despite the fact that the two cathodically protected

 Pipelines have been in the ground for approximately 60-70 years,

 there has never been a need for Columbia to access, repair, or

 physically      inspect            the   Pipelines          on   Grove's     Property.

 Additionally,     every test that Columbia has                   performed on       this

 section of the Pipelines over the past several years, including

 the most recent "pig" surveys, revealed that the Pipelines are in

 good condition and do not require any repairs (although the "pig"

 data is approximately five years old).

        28.   Based     on    the    testimony      of     Columbia's    expert,   Andrew

 Kvasnicka      ("Mr.    Kvasnicka"),          if    an     "emergency"     repair   was

 necessary under the asphalt road proposed by Grove, it could take

 Columbia several hours longer to secure the necessary equipment

 and personnel than it would take to secure the same for excavation

 in an open field.           Such delay is difficult to pinpoint as it would

 depend on various factors, but it could be approximately four

 hours.   That said, in over twenty years in the industry, and having

 been involved in approximately sixty "digs" under asphalt roads,

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 Mr. Kvasnicka cannot recall a single            emergency" unscheduled dig

 under an asphalt road, meaning that the equipment and personnel

 have always been scheduled in advance.

          29. Based on Mr. Kvasnicka's testimony, once the necessary

 equipment and personnel are on site, the roadway proposed by Grove

 would delay accessing the Pipelines by approximately four hours,

 as additional excavation work would be necessary to remove the

 asphalt roadway.^

          30. Because the road crossing proposed by Grove will terminate

 in   a    dead-end   that   does   not   intersect     with   any   other   roads,

 Columbia will bear additional costs and delays caused by the need

 to keep one lane of the proposed road passable during a repair

 project in case emergency personnel and/or residents need to access

 Grove's proposed Condominium development.®

                          2. Wheel Load Calculations

          31. If a road is constructed over Columbia's Pipelines, there

 is a risk to the integrity of the Pipelines based on the weight of

 crossing     vehicular      traffic.     Such   risk    is    evaluated     through

 conducting ''wheel-load" calculations.




 ^ For context, Columbia's ejqjert testified that a scheduled "pig-dig"
 conducted to repair a known defect in an underground pipeline could take a
 "couple of days," or could take "a week," depending on the nature of the
 repair.

 ^ Columbia did not present evidence quantifying the additional cost, or the
 additional delay, resulting from the absence of an alternative access road.
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        32. Mr. Kvasnicka performed wheel-load calculations in this

  case using an industry-accepted software program, which conducts

  a mathematical calculation based on the ''Spangler Analysis," named

  for the engineer that developed the protocol for performing such

  test.   Mr. Kvasnicka concluded, based on his calculations using

  the industry-accepted program, that the crossing proposed by Grove

  was not safe as to either of Columbia's Pipelines.

        33. Grove's expert. Dr. Richard Roby (''Dr. Roby"), performed

  wheel-load calculations using the same industry-accepted software

  program, but he concluded that the proposed crossing was safe as

  to both of Columbia's Pipelines.

        34. While both experts used the same software/formula for

  performing wheel-load calculations, they input different variables

  into the equation, including different variables that reflect soil

  compaction and soil weight.

        35. Even after filing a federal lawsuit, Columbia never tested

  the actual soil for compaction, soil type, or soil weight, but

  rather, Mr. Kvasnicka: (1) used the variable for soil compaction

  tied to the manner in which the Pipelines were actually installed

  ("open trench method"); (2) assumed, consistent with his training

  for permanent road construction, that the soil type was "granular

  materials   without   cohesion,"    the   type   most   favorable   to   the

  developer (he makes an unfavorable assumption on this variable to

  evaluate a proposed temporary road across a grassy lot); and (3)

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  assiamed a    ^^worst-case scenario" for soil          weight (130 lbs/ft^)

  justifying his decision to do so based on his training in the

  industry and a desire to be conservative in the absence of data to

  the   contrary.        Such   latter    "worse-case"    assumption       is   not

  consistent     with   the "range"      of   soil   weights   in   the    software

  guidelines     for    the   selected   most-favorable    soil     type    (90-100

  lbs/ft^), but is arguably consistent with another statement within

  such guidelines indicating that Spangler recommends using the

  worst-case ass\amption for the friction co-efficient (soil type) in

  order to reflect conservatism unless there is actual evidence that

  a less conservative value is accurate.''


        36.    Even after being named in a federal lawsuit and advancing

  a counterclaim seeking a declaratory judgment intended to avoid

  hundreds of thousands of dollars in requested mitigation measures,

  Grove never tested the actual soil for compaction, soil type, or

  soil weight, nor did Grove hire a soil expert.                Rather, Grove's




 'The width of the trench dug at the time the Pipelines were installed is
  another variable that Columbia's expert input into the wheel-load formula
  based on his training and experience. He testified that because he was
  obviously not present in the 1950s and 1960s when the Pipelines were
  installed, he could not know this variable with certainty.  He further
  stated that a four-foot wide trench is common in the pipeline industry
  today, and that he has been trained to use that width in his calculations.
  Although it arguably remains unclear whether "four feet" would be widely
  accepted in the industry as an accurate estimate of historical installation
  practices. Grove's expert advanced nothing to undermine the reasonableness
  of such estimate. Rather, Dr. Roby merely speculated that the trench could
  have been narrower, and his testimony on this issue at least suggested his
  unfamiliarity with what this variable was meant to represent in the wheel-
  load calculations. Because Grove's challenge to Mr. Kvasnicka's assumption
  is speculative, the Court accepts his assumption as reasonable.

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  engineering expert,       whose primary expertise is in combustion

  systems, fire protection engineering and safety analysis (both

  before and after incidents), concluded: (1) that it was appropriate

  to assume that the soil over and around the Pipelines was near

  100% compaction due to the length of time it was presumably left

  undisturbed, causing him to input a variable for soil compaction

  into the software program (^^bored method") that is inconsistent

  with the manner in which the Pipelines were actually installed;

  (2) that the soil type was granular materials without cohesion,

  the most favorable type of soil from the developer's perspective;®

  and (3) that the soil weight was the ''midline" weight within the

  typical range of weights associated with such best-case scenario

  soil type (95 lbs/ft^).

        37. To further clarify Grove's position on the first data

  point, soil compaction. Dr. Roby essentially opined that although

  it is undisputed that Columbia's Pipelines were actually installed

  through   an   ''open   trench   method,"   it   was   more   scientifically

  accurate to select the "bored method" in the software program.



  ^ As previously noted, Columbia's expert similarly selected this "best-case
  scenario" type of soil in his calculation, testifying that he always used
  such ass\imption for evaluating permanent road crossings because it gives
  the best results and mimics a typical road subbase. When pressed on cross-
  examination, Mr. Kvasnicka appeared to admit that such soil type was
  consistent with his exposure to the soil in the same general area as Grove's
  Property as he has worked on prior excavations within a mile of Grove's
  proposed crossing.    Even assuming, in Grove's favor, that such latter
  statement is accurate, the Court notes the obvious concern of relying on
  soil data from "within a mile" of the proposed crossing rather than data
  regarding the soil properties at the location of the proposed crossing.

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  Dr. Roby explained that this input variable is designed to reflect

  soil compaction, and that the passage of many years since the

  Pipelines were installed likely caused the soil to compact to a

  degree that approached that of undisturbed soil, as would exist if

  the   "bored   method"    was   used.    Dr.    Roby   offered    common   sense

  examples of soil settling, such as after a fresh grave is dug in

  a cemetery, or after a new house is constructed, but he did not

  appear to rely on any specialized soil knowledge, pipeline industry

  knowledge,     or   construction     industry   knowledge.        Such   lack   of

  expertise calls into question the reliability of his challenge to

  the industry-accepted software program, particularly because Dr.

  Roby never inspected the condition of the location at the proposed

  crossing.

        38. Neither Dr. Roby's testimony, nor any other evidence

  advanced by Grove, suggested that any soil scientists, experts in

  the   pipeline      industry,   or   experts    in   the   road    construction

  industry, viewed the industry-accepted software program as flawed

  whenever it is used to calculate wheel-loads for pipelines that

  were installed several decades ago.              Grove similarly failed to

  introduce    evidence    suggesting     that    any industry practitioners

  actually select a "bored" method while performing calculations

  when it is known that pipelines were installed through an "open

  trench" method.       Although Dr. Roby testified Spangler recognized

  that the open trench method becomes more and more conservative as

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  time passes due to compaction, Spangler nevertheless instructed

  that one should use the correct input, but understand that doing

  so is conservative.            Grove's expert further acknowledged in his

  testimony      that    conservatism      was    generally     necessary    to     the

  formula's viability because safety concerns dictate that a close

  call should err on the side of ''failure" rather than returning a

  "safe to cross" result when it might not be safe to cross.

         39.     Dr.    Roby's    testimony      on   the   wheel-load     analysis,

  including the soil compaction and other input variables, is best

  summarized as seeking to inject doubt into the validity of the

  software     model     itself,    as    he   highlighted     several    additional

  variables (such as trench width and population density) that could

  be slightly modified in order to yield a "passing" score.                    While

  the    Court    acknowledges      Dr.   Roby's      point,   he   did   little,    if

  anything, to demonstrate that Mr. Kvasnicka used the wrong variable

  for population density, trench width, or any of the other inputs,

  with the arguable exception of soil weight.

         40. The most questionable variable input into the formula by

  Mr. Kvasnicka is the soil weight, as he assumed the soil weight

  for "saturated clay" (the heaviest type of soil) rather than the

  soil   weight generally associated with                the "granular     materials

  without cohesion" soil type that he has been trained to input for

  all permanent road crossings.           Assuming, without knowing, that the

  soil at the crossing site is "granular materials," if all other

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  input variables are left unchanged, but the soil weight is changed

  from the ultra-conservative amount used by Mr. Kvasnicka (130

  lbs/ft^) to the highest amount within the ''range" stated in the

  software guidelines for "granular materials," (100 lbs/ft^), Dr.

  Roby's calculations purportedly result in a "safe to cross" score

  for one Pipeline, and a "borderline" result for the other.            As Dr.

  Roby did not explain what he meant by "borderline," when such word

  is taken in the context of his testimony, it is interpreted to

  mean a score that does not "pass," but is close to passing.®

        41.    Mr.   Kvasnicka   has    evaluated     over   twenty   proposed

  permanent     road    crossings,     yet   his    wheel-load    calculations

  utilizing    the     industry-accepted     software   program    yielded   an

  "unsafe to cross" conclusion for every single crossing that he

  evaluated.    He has, however, had multiple temporary road crossings

  yield a "safe to cross" result.

        42. Mr. Kvasnicka, a credible and forthright expert witness

  with an unwavering focus on safety, opined that even if it was




'Dr. Roby separately testified that adding a few extra inches of "fill"
  material over the top of the Pipelines is a viable and cost-effective option
  that would improve the wheel-load results.     Dr. Roby asserted that such
  procedure is a "common industry practice," but he is not an expert in the
  industry, and his conclusion appears to be based solely on a "Canadian
  study" that was not presented to Columbia's engineers prior to litigation.
  Moreover: (1) Grove never submitted a proposal to Columbia seeking to build
  its crossing using additional fill material such that Columbia's engineering
  department had an opportunity to evaluate the propriety of such proposal in
  these circumstances; and (2) Dr. Roby never used the wheel-load formula to
  determine if both Pipelines would pass if extra fill was added and the soil
  weight was changed from (130 lbs/ft^) to (ICQ lbs/ft^).

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  proven that the software input variables should be revised in this

  case, and even if such revisions resulted in a ''safe to cross"

  result, in light of the age of the Pipelines at issue, and the

  fact that he believes in the accuracy of his initial calculations,

  he would likely still conclude that a visual inspection of the

  Pipelines is needed to ensure a safe crossing.^®

        43.   If   the     Pipelines    were      recently     installed,        had    been

  constructed      using     modern    manufacturing          techniques,        and     the

  industry-accepted formula returned a "safe to cross" result, Mr.

  Kvasnicka   would      conclude     that   there      was   no    need   for   a   visual

  inspection prior to approving a proposed asphalt road crossing.

        44. Notwithstanding the fact that Columbia's Pipelines are

  roughly 60-70 years old and in a "high-consequence" area adjacent

  to a school, Columbia has no intention to visually inspect, repair,

  or replace the Pipelines unless a road crossing is constructed.

  Stated differently, Columbia fully accepts and trusts its various

  forms of testing data for all federal regulatory and maintenance

  purposes, yet its expert is apparently unwilling to trust such

  data when it comes to evaluating a proposed road crossing due to

  the   age   of   the     Pipelines    and       the   age    of    the    "pig"      data.




    Although not a "factual finding," the Court notes in advance of its legal
  analysis that it acJmowledges and respects Mr. Kvasnicka's conservatism;
  however, the Court has strong reservations about Columbia's apparent
  viewpoint that it can demand that Grove pay for expensive mitigation measures
  if the need for such measures is predicated solely on a non-definable "hunch"
  that something could be wrong with the Pipelines due to their age.

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  Accordingly, even though the Industry-accepted wheel-load formula

  already has a 38% margin of error built into it based on the

  population density of the area in question, Mr. Kvasnicka would

  likely err on the side of caution regardless of the result of the

  wheel-load analysis     and conclude that a visual inspection is

  required before Grove's crossing will be allowed.

                           II. Conclusions of Law


                       A. Virginia Law on Easements

        Virginia law    applies   to   the instant diversity      case,   and

  because the easement at issue was ''granted by deed, the ordinary

  rule which governs in the construction of other writings prevails,

  namely, that the rights of the parties must be ascertained from

  the words of the deed, and the extent of the easement cannot be

  determined from any other source."          Gordon v. Hoy, 211 Va. 539,

  541, 178 S.E.2d 495, 496 (1971).          Only in circumstances where the

  terms of the written deed are found to be ambiguous should the

  Court seek to "ascertain the intention of the parties" through




    On the opposite end of the spectrum from Mr. Kvasnicka's conservatism is
  Dr. Roby's apparent lack of conservatism.   Notably, Dr. Roby took the
  position at trial that a wheel-load calculation must only be "close" to
  passing, meaning that even in a densely populated area that requires a score
  of a 62 or lower to yield a passing score. Dr. Roby thought a score of 63.4
  was sufficient from an engineering standpoint. Grove failed, however, to
  introduce any evidence from an expert in the gas pipeline industry that
  would suggest that close is "good enough," particularly when crossing two
  gas transmission pipelines that are over 50 years old and are located in a
  "high consequence area" adjacent to an elementary school.       Dr. Roby's
  arguable separation from industry-specific concerns is further illustrated
  by the fact that he had not reviewed the federal regulations governing gas
  pipelines for at least five years prior to being retained in this case.

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  considering the language of the deed in      light of the circumstances

  surrounding the parties and the land at the time the deed was

  executed."    Id.; see Columbia Gas Transmission, LLC v. Vlahos, 94

  F. Supp. 3d 728, 738 (E.D. Va. 2015).

        Turning to the relative rights of Columbia and Grove as the

  respective owners of the dominant and servient estates, the Supreme

  Court of Virginia has explained as follows:

        Under well-settled principles, a conveyance of an
        easement that is non-exclusive does not strip the
        servient landowner of its right to all use of the land.
        Walton V. Capital Land, Inc., 252 Va. 324, 326, 477
        S.E.2d 499, 501 (1996). The servient landowner retains
        the right to use its property in any manner that does
        not unreasonably interfere with the lawful dominant use.
        Id.   The servient landowner's right to reasonably use
        the land includes the right to grant to others additional
        easements to use the same land so long as the additional
        uses are not unreasonably burdensome or inconsistent
        with the existing dominant uses of the easement.
        Preshlock v. Brenner, 234 Va. 407, 410, 362 S.E.2d 696,
        698 (1987).

        The party alleging such an unreasonably burdensome or
        inconsistent use has the burden of proving this
        allegation.  Hayes v. Aquia Marina, Inc., 243 Va. 255,
        259, 414 S.E.2d 820, 822 (1992).

  Shenandoah Acres, Inc. v. P.M. Conner, Inc., 256 Va. 337, 342, 505

  S.E.2d 369, 371 (1998) (emphasis added).

        Here, although Grove has expressly retained the full use and

  enjoyment of the servient estate. Grove's rights remain "subject

  to" Columbia's right to maintain and operate its high-pressure gas

  transmission Pipelines within the easement.         See Walton, 252 Va.

  at 326-27, 477 S.E.2d at 501 ("[T]he servient landowner retains

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  the right to use the land in ways not inconsistent with the uses

  granted in the easement.") (emphasis added) (citations omitted).

  Columbia, as owner of the dominant estate, has the "privilege to

  use the land [owned by Grove] in a particular manner and for a

  particular purpose," and such right "creates a burden on the

  servient tract and requires that [Grove] refrain from interfering

  with the privilege conferred for the benefit of [Columbia]." Brown

  V. Haley, 233 Va. 210, 216, 355 S.E.2d 563, 567-68 (1987).              That

  said,   consistent   with   easement     treatises,   Virginia   case   law

  recognizes that when the dominant estate holder's easement rights

  are not "specifically defined," the law will imply those rights

  "reasonably necessary for the enjoyment of the easement," but such

  implied rights are limited to those that will "'burden the servient

  estate as little as possible.'"        Scott v. Karmy, 52 Va. Cir. 118,

  124-25 (2000) (quoting 25 Am. Jur. 2d Easements and Licenses,

  § 83);^2 see Columbia Gas Transmission, LLC v. Ott, 984 F. Supp.

  2d 508, 519 (E.D, Va. 2013) (finding that, based on Scott and other

  authorities, Virginia law requires that the servient estate be

  burdened as little as possible); City of Lynchburg v. Smith, 166

  Va. 364, 369, 186 S.E. 51, 53 (1936) (citing case law for the




    Although it appears that the quoted language from American Jurisprudence
  does not, at least at this time, appear in the cited section, it can be
  found in other provisions. See 81 Am. Jur. Proof of Facts 3d 199 § 11 (Nov.
  2018 update); 9 Am. Jur. Pi. & Pr. Forms Easements and Licenses § 54 (Sept.
  2018 update).


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  proposition that although an easement holder must be allowed to

  enjoy ''all the advantages contemplated by the grant,'' he must "use

  his own privileges as not to do any unnecessary injury to the

  grantee") (citation omitted); 28 A.L.R.2d 626 (explaining that the

  owner of a pipeline easement appears to have the authority to use

  the easement "in any way that is reasonable and proper to the

  enjoyment of the easement acquired, imposing in this respect as

  slight a burden as possible on the servient tenement"); see also

  Wessynton Homes Ass'n, Inc, v. Burke, 79 Va. Cir. 365, 369 (2009)

  ("Unless authorized by the terms of the servitude, the [easement]

  holder is not entitled to cause unreasonable damage to the servient

  estate or interfere unreasonably with its enjoyment." (quoting

  Restatement (Third) of Property - Servitudes § 4.10(c) (Oct. 2018

  update))).

        Columbia maintains publicly available written policies and

  guidelines    that    are    intended     to    relay   Columbia's     rules   and

  procedures regarding various potential encroachments, including

  road crossings and vegetation, and such policies generally allow

  perpendicular road crossings constructed of asphalt.                    Tr. Exs.



    It is undisputed that Columbia has allowed multiple asphalt roads to cross
  its Pipelines within a mile of Grove's property, but that it did so after
  the property owners agreed to pay for the mitigation measures that Columbia
  requests in this case. Although the existence of other crossings does not
  preclude   Columbia   from   enjoining    the    crossing   proposed   by   Grove,
  particularly because Grove refuses to finance the requested mitigation
  measures, the existence of multiple asphalt crossings in close proximity to
  Grove's Property lends context when considering whether the proposed asphalt
  crossing is "inconsistent with the existing dominant uses of the easement."

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  9-10. However, Columbia's written policies note that all crossings

  must   be     evaluated     and    approved     by   Columbia      in        advance    of

  construction, that mitigation measures may be necessary, and that

  an entity constructing a road crossing ''must pay for any measures

  required by [Columbia] to inspect and protect its pipeline(s)."

  Trial Ex. 9, at 2.        Such written procedures also require Columbia's

  approval before the depth of cover over its pipelines can be

  modified.     Id.    Such policies do not state, or even suggest, that

  Columbia routinely requires hundreds of thousands of dollars in

  mitigation measures prior to approving a single two-lane asphalt

  road crossing.

         Neither   this     Court,    nor   Grove,     questions         the    fact     that

  Columbia has both the right and the duty to monitor construction

  activities, excavation activities, and other potentially dangerous

  activities     within     its     pipeline     easements.         It    is    similarly

  unremarkable that, absent an express statement to the contrary in

  a   written    easement,     Columbia     has    the    legal     right       to   enjoin

  activities that pose a material risk to its Pipelines.                         Moreover,

  when considering the concept of "materiality," it should be noted

  that the Pipelines at issue are high-pressure gas transmission

  lines,   which      are   distinguishable from         distribution lines              that

  generally     transmit smaller        quantities       of   gas   at a much          lower




  Shenandoah Acres, 256 Va. at 342, 505 S.E.2d at 371.


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  pressure.    Even in the context of transmission lines, however, the

  Court agrees with Grove's position          that the potential for a

  pipeline incident to cause catastrophic harm is alone insufficient

  to render the appropriate panacea an injunction preventing all

  development/improvements irrespective of the scientific evidence

  documenting the risk, or lack thereof, to the Pipelines.

        Accordingly,     in   a    word,    this     case   comes   down    to

  ''reasonableness," as the undisputed facts demonstrate that Grove's

  proposed asphalt road creates at least some additional burden on

  Columbia, as it will have a very minor impact on Columbia's routine

  testing procedures, and will increase the time/cost to access the

  Pipelines in the unlikely event that the exceedingly small stretch

  of Pipelines to be crossed by the proposed road (twenty-six feet)

  needs to be physically accessed by Columbia.          See 28 A.L.R.2d 626

  ("One of the outstanding incidents to full enjoyment of a pipeline

  easement is    that it be accessible for maintenance and repair.

  Without such right the easement would eventually become useless,

  since leaks, breaks, and other defects would cause loss of the

  material transported."); 61 Am. Jur. 2d Pipelines § 39 (Nov. 2018

  update)     ("The   erection    of   substantial    structures    or   other

  obstructions on or over a pipeline right-of-way constitutes an

  unwarranted interference with the rights of the dominant owner,

  who may require the removal or enjoin the erection or maintenance

  of such obstructions. Mere inconvenience to the pipeline owner and


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  his or her right of access for maintenance and repair is not of

  itself sufficient to entitle the pipeline owner to the removal of

  a permanent obstruction, such as a building, over the right-of-

  way.") (emphasis added); Jon W. Bruce & James W. Ely, Jr., The Law

  of   Easements    &   Licenses    in    Land   §   8:21   (Sept.     2018   update)

  (''Whether a particular activity by the servient owner constitutes

  an unreasonable interference is a question of fact, and uniform

  rules are difficult to formulate.").

                  B. Breadth of the Case-Specific Easement

        A survey of relevant caselaw reveals that written pipeline

  easements may expressly reference the servient landowner's right

  to   maintain    roads   or   other    obstructions,      or   in   contrast,   may

  expressly    forbid      listed       obstructions,       such      as   buildings,

  structures, or trees.         Compare N. Utilities, Inc. v. City of S.

  Portland, 536 A.2d 1116, 1117 n.l (Me. 1988) (allowing the grantor

  to "build cross fences, to maintain and use roads, driveways,

  sewers, drains, waterlines, gas lines,               telephone and        telegraph

  lines and electric light and power lines across said easement,

  subject, however, to the conditions that . . . rights reserved to

  the Grantor shall not be used or exercised in any manner which

  will interfere with the rights, privileges and authority herein

  granted to the Grantee"), with Ott, 984 F. Supp. 2d at 513 (quoting

  from a written pipeline easement executed in 1950 indicating that

  "no buildings or structures of any nature be erected within" the


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  easement), and Mid-Am. Pipeline Co. v. Wietharn, 246 Kan. 238,

  239, 787 P.2d 716, 718 (1990) (discussing an easement granting the

  pipeline company the express authority to ''keep clear all trees,

  undergrowth and other obstructions from the . . . granted right of

  way" with the landowner further agreeing                     "not to build, construct

  or create . . . any buildings or other structures on the . . .

  right of way that will interfere with the normal operation and

  maintenance of the said line or lines").

         However,    here,     as   appears         to   commonly   be     the    case,    the

  language of the easement, while clear and unambiguous, does not

  expressly address above-ground structures, fences, or crossings,

  thus   requiring       the   Court      to   determine         whether    the    disputed

  encroachment (a two lane asphalt road) falls within Grove's right

  as landowner to "fully use and enjoy the premises," or whether

  Grove should be legally barred from constructing the proposed road

  crossing because it unreasonably interferes with Columbia's right

  to   "maintain     and   operate"        its      underground      Pipelines.           Such

  determination is case-specific, fact intensive, and as previously

  suggested   herein,      turns     on    the      concepts     of "materiality" and

  "reasonableness."


         Should   the     Court     find    that         the   proposed    crossing       will

  materially interfere with Columbia's easement rights such that the

  road cannot       be   constructed       without Columbia's             Pipelines   being

  relocated, buried deeper, encased, or otherwise protected through

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  mitigation     measures    to    avoid    damage    from    vehicular      traffic,

  numerous federal and state authorities establish that the cost of

  the required mitigation measures must be borne by Grove.                          See

  Panhandle E. Pipe Line Co. v. State Highway Common of Kansas, 294

  U.S. 613, 616-19 (1935) (holding that a state agency facilitating

  highway construction could not constitutionally order a utility

  company   to   make    changes    to     its    natural    gas    lines,   such   as

  "lowerings"     or    ''casements,"      without    providing      compensation);

  Buckeye Pipe Line Co. v. Keating, 229 F.2d 795, 796-98 (7th Cir.

  1956)   (affirming      the     district       court's    order    enjoining      the

  defendant developers from crossing a one-foot deep oil pipeline

  with a paved road (or allowing traffic to pass over the pipeline

  on an unpaved road) unless and until the defendants "incased and

  lowered" the pipe, or agreed to pay $2,900 to cover such costs, in

  a case where the record demonstrated that "injury to the pipe would

  be a probable result of paving and using the streets while the

  pipe is unprotected"); Tenneco Inc. v. May, 377 F. Supp. 941, 942-

  44 (E.D. Ky. 1974), aff'd, 512 F.2d 1380 (6th Cir. 1975) (holding

  that the "road construction and concomitant necessity of encasing

  the pipeline constituted an unreasonable interference with the

  dominant estate," thus requiring the servient estate holder to

  bear the costs of encasement in an action where live testimony

  "left scant doubt as to the necessity of securing the pipeline

  against the increased hazards attendant to highway traffic");

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  Minard Run Oil Co. v. Pennzoil Co., 419 Pa. 334, 335-36, 214 A.2d

  234, 235 (1965) (holding, in a case where ^^the nature of the

  terrain" required a pipeline to be lowered before a new road

  crossing was constructed, that it was ''the plaintiff who desires

  to alter the status quo for its benefits (even though, by deepening

  the bed of the defendants' pipeline it will be less subject to

  damage)" and it therefore must be "the plaintiff's obligation to

  pay for the achievement of its desire")            Grove does not dispute

  such legal     authority,   but instead asserts       that this    case is

  factually distinguishable—that is. Grove asserts that there is no

  reliable      scientific    evidence     establishing    that     expensive

  mitigation procedures are necessary in order for Grove to construct

  a safe crossing.

                       C. Case-specific Interference

                  1. General Allegations & Applicable Law

        Columbia has the burden to demonstrate that Grove's planned

  activities will "unreasonably" interfere with Columbia's use and

  enjoyment of its easement.       Shenandoah Acres, 256 Va. at 342, 505

  S.E.2d   at   371.    Columbia   advances    two   primary    arguments   to

  demonstrate     unreasonable   interference:    (1)   the    proposed   road




    Historic case law frequently references "encasing" a pipeline for added
  protection from vehicular weight, a practice that involves installing a
  second larger pipe around the existing pipeline. However, Columbia's expert
  ejqjlained at trial that such mitigation procedure often caused corrosion
  that would not otherwise occur, and that encasing is therefore no longer a
  favored practice.

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  crossing    unreasonably       increases     the   risk     of   damage   to    the

  Pipelines, thus enhancing the danger to the public, due to the

  weight of crossing vehicular traffic; and (2) the asphalt road, by

  its    nature,   creates   a   material      encumbrance    that Columbia can

  prohibit as of right (although it does not seek to do so) because

  such    road,    if   constructed,    will      adversely    impact   Columbia's

  testing protocol and will delay Columbia's ability to physically

  access its Pipelines by several hours.

         The critical question in this case is not whether an asphalt

  crossing, in the abstract, unreasonably interferes with Columbia's

  safe operation, testing, maintenance, and repair activities, but

  rather, whether this specific road, in this specific place, built

  in the specific manner proposed by Grove, would constitute an

  ''unreasonable"       interference.       See    McCarthy    Holdings     LLC   v.

  Burgher, 282 Va. 267, 273, 716 S.E.2d 461, 464 (2011) ("Ordinarily,

  when a tract of land is subjected to an easement, the servient

  owner may make any use of the land that does not unreasonably

  interfere with the use and enjoyment of the easement." (quoting

  Preshlock, 234 Va. at 410, 362 S.E.2d at 698)).                   The answer to

  such    question      necessarily    turns    on   the    materiality     of    the

  obstruction, to include consideration of whether it is temporary




    Columbia divides its argument on this latter issue into two discrete
  arguments (testing interference and access interference), but this Court
  elects to treat such concepts collectively.

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  or permanent, the degree to which it burdens Columbia's rights, as

  well as the cost and time to remove such an obstruction should the

  need arise. See Restatement (Third) of Property - Servitudes § 4.9

  (discussing the importance of the ''character of the improvement"

  and noting that "the more difficult its removal is likely to be"

  the greater the likelihood that it constitutes an "unreasonable

  interference").      The Court therefore does not endeavor to resolve

  whether Columbia      has    the right to     categorically prohibit the

  construction of all road crossings, considering instead whether

  the specific crossing proposed by Grove, constructed without the

  mitigation      measures    sought   by   Columbia,    would    constitute   an

  unreasonable interference with Col\imbia's right to operate and

  maintain its Pipelines.

        In addressing such issue, it is tempting for this Court, as

  factfinder, to place substantial emphasis on the existence of other

  asphalt crossings in the immediate area of the proposed crossing

  and/or on modern pipeline companies' obvious ability to test,

  maintain and operate their pipelines even when they cross under

  concrete multi-lane highways, or rivers, or shipyards; however,

  the   Court's    focus   must   remain    narrow.     Here,    the   predecessor

  landowner and predecessor pipeline company divided the "bundle of

  sticks" attendant to land ownership regarding this specific parcel

  of land.   A price was set and paid, and Columbia obtained the legal

  right to access, monitor, test, and maintain its pipeline(s) on

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  this specific tract of land.              The critical determination must

  therefore    be   based   on    the    case-specific        bargained-for   rights

  regarding this specific parcel, and turns on the resolution of the

  following     two    questions:         (1)    Has        Columbia     sufficiently

  demonstrated that the case-specific data establishes that Grove's

  proposed    crossing,     constructed      without        mitigation    procedures,

  introduces   a sufficient risk of             harm   to    the   integrity of   the

  Pipelines such that it constitutes an unreasonable interference,

  either when vehicular weight is considered alone, or considered in

  conjunction with the evidence demonstrating that the road will

  delay Columbia's ability to access its Pipelines?; and (2) If

  vehicular weight does not present a safety concern, does Columbia

  nevertheless have the authority to prohibit the construction of

  the proposed two-lane asphalt crossing predicated solely on the

  impact such crossing will have on Columbia's testing procedures

  and/or the increase in time or cost to repair the Pipelines at the

  location of the crossing?             Because the Court finds in favor of

  Columbia on the first question, the Court does not squarely resolve

  the second question.

               2. Risk to Pipeline Integrity from Traffic

        The difficult pipeline ''safety" question, that could not be

  resolved without the benefit of live testimony from the parties'

  respective    experts,     is    whether      the    case-specific      scientific

  evidence supports Columbia's contention that mitigation measures

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  designed to protect the Pipelines are needed before a safe road

  crossing can be constructed.       The Court's factual findings, set

  forth in detail above, reflect the Court's concerns regarding the

  reliability of portions of the expert testimony advanced by both

  parties in this case. However, the Court finds that Mr. Kvasnicka,

  Columbia's expert who has worked in the pipeline industry for many

  years, provided the more compelling testimony.           Grove's expert.

  Dr. Roby, while both a qualified engineer and credible witness, is

  not a soil expert, expert in road construction, or expert that

  specializes in the pipeline industry.^®

                     a. Pipeline Installation Method

        One of the key disputes between the experts was whether the

   construction type" variable in the wheel-load formula, a variable

  relevant    to   the   "bedding    constants"    of   Columbia's    buried

  Pipelines, should be input as "open trench" or as "bored."           It is

  undisputed that the Pipelines were actually installed through an

  "open trench method," but Dr. Roby advocated inputting the "bored

  method" into the formula to reflect the presumed actual condition

  of the soil after many years of settling.         Although Dr. Roby has

  experience investigating fires        and damage      caused by pipeline



    At trial, the Court overruled Columbia's objection to Dr. Roby being
  accepted as an expert in "pipeline safety requirements," finding that he
  had sufficient training and experience to opine on such subject. However,
  the Court expressly noted that "the weight" that the Court would ultimately
  give to Dr. Roby's testimony on such subject would be based on the depth of
  his knowledge and experience on such matters.

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  explosions/failures/     he    does   not     appear    to   have    scientific

  experience regarding soil properties, and instead appeared to rely

  largely on the "common sense" concept that soil settles/compacts

  over time.     Although this Court does not dispute that common

  experience renders soil "settling" a familiar concept, Dr. Roby's

  testimony was insufficient to convince the Court that the soil at

  the proposed crossing location "settled" to such a degree that the

  more accurate input variable was             the variable reflecting           the

  installation type that was not used in this case.             Stated a little

  differently, even if Dr. Roby is in fact correct, absent evidence

  from an individual more familiar with the pipeline industry, the

  wheel-load software program, soil sciences, or even the broader

  underground    utility   industry,     the    Court     is   not    prepared    to

  disregard the industry-accepted formula.              Notably, the purported

  "flaw" in such formula is not case-specific, but would presumably

  exist every time it was applied to a pipeline that had been buried

  for many years.      Again, while this Court does not discount the

  possibility that such analytical "flaw" could exist. Grove's trial

  evidence is insufficient to support such finding at this time.^"^




     This Court holds Columbia    to its     burden   to demonstrate unreasonable
  interference, but to the extent Grove seeks to undercut Columbia's
  scientific calculations based on a known data point, or a facially reasonable
  assumption applied by Columbia's expert that is supported by credible
  testimony, it is incumbent on Grove to demonstrate the flaws in Columbia's
  evidence.


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        The Court separately notes that Dr. Roby's soil compaction

  testimony also relied on the assumption that the soil at the

  location of the crossing had been undisturbed for several decades/

  which was supported, at least generally, by the testimony of the

  Property owner.    Dr. Roby, however, did not visit the Property to

  inspect the current state of the soil at the location of the

  proposed crossing (as opposed to the Property generally), did not

  perform any soil compaction tests, and did not rely on any soil

  test data performed by any other expert or qualified individual.

  Had   Grove   conducted   such    testing   and    used   the    actual   soil

  conditions to undercut the reliability of Columbia's wheel-load

  calculations,    this   Court's   conclusion      regarding     ''unreasonable

  interference" may have been starkly different.

                 b. Soil Type, Soil Weight, Trench Width

        Dr. Roby's wheel-load analysis adopts the assumption made by

  Mr. Kvasnicka that was favorable to Grove (soil type) but sought

  to attack the assumptions that were unfavorable to Grove (soil

  weight, trench width).     In doing so. Dr. Roby did not rely on any

  factual information regarding the actual soil conditions or the

  width of   the trench used to install Columbia's Pipelines, but

  rather, he appeared to highlight reasons why one should assume

  that the actual weight was less, and why one could assume that the

  actual trench width, dug many decades ago, might have been narrower




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  than four feet.^®      Similarly, although not included in Grove's

  plans documenting the proposed road crossing. Dr. Roby discussed

  the favorable impact of adding additional fill material on top of

  the Pipelines, something he characterized as ''standard practice"

  in the industry.     However, as discussed herein. Dr. Roby is not

  truly an industry practitioner, and his conclusion appears to rely

  solely on recounting      the   conclusions   of   a Canadian study on

  pipeline crossings.      Even if such study had been admitted into

  evidence and deemed reliable, it both acknowledges the benefits of

  adding additional fill to reduce the impact of vehicle weight on

  the pipelines, and the added risk of increasing stress on buried

  pipelines due to the weight from the added fill.        Further assuming

  that the benefits outweigh the drawbacks. Grove never proposed

  such option to Columbia as part of its crossing plan, and thus,

  Columbia's engineers never evaluated the possibility of adding

  fill as part of the engineering review of the proposed crossing.

        Forced to make a call on this close issue, the Court finds

  that, after weighing the case-specific evidence, Mr. Kvasnicka's



    As to trench width, Dr. Roby testified about a personal experience when
  he witnessed a far narrower trench dug at his golf club; however, his
  testimony did nothing to suggest that transmission pipeline installation
  trenches dug in the 1950s and 1960s were in fact narrower than the four-
  foot standard industry width assumed by Mr. Kvasnicka. Rather, Dr. Roby's
  testimony appears to be best characterized as highlighting the degree to
  which such variable would impact the wheel-load calculations   the trench
  had been narrower. The fact that small changes in various inputs into the
  formula can have a big impact on the program output is not lost on the
  Court; however, such fact is insufficient to call into question the
  reasonableness of the assumptions relied on by Columbia's expert.

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  testimony regarding the various wheel-load input variables was

  more compelling         than Dr.     Roby's     testimony.       Mr.    Kvasnicka's

  calculation relied on the soil type most favorable to Grove, yet

  such favorable assumption was counterbalanced by an extremely

  conservative assumption regarding soil weight.                       Mr. Kvasnicka

  explained that he was taught by his mentor that, in the absence of

  having real data from soil scientists, it was appropriate to assume

  a soil weight of 130 lbs/ft^ in order to be conservative.                     Although

  Grove's expert proposed a different assumption, his field of

  expertise    is     not    soil     sciences,       pipeline   safety,        or    road

  construction.           Accordingly,     although      Grove's   trial        evidence

  successfully       demonstrated      that     Mr.    Kvasnicka's     analysis        was

  predicated    on    a     very    conservative      assumption     regarding        soil

  weight. Grove failed to convince the Court, in the context of a

  proposed    road    crossing      over   two    separate    decades'     old       high-

  pressure gas transmission lines located in a ''high consequence

  area," that in the absence of actual soil data, Mr. Kvasnicka's

  conservative assumption was improper {particularly when made in

  conjunction       with     a     favorable     assumption      for     soil        type).

  Alternatively, even if the Court assumes that Mr. Kvasnicka's soil

  weight assumption of 130 lbs/ft^ is unacceptably conservative, and

  that the highest allowable conservative assumption was instead ICQ




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  lbs/ft^, Dr. Roby's testimony was that one of Columbia's Pipelines

  still would not have resulted in a ''safe to cross" result.

        In balancing the evidence regarding the experts' disputed

  assumptions, the Court acknowledges the fact that Mr. Kvasnicka

  has previously concluded that each one of the approximately twenty

  proposed permanent crossings that he has evaluated was deemed

  "unsafe to cross" without mitigation measures—a fact that causes

  pause regarding his approach.       However, such reasonable basis for

  pause   does    not   undermine   the    validity   of   Mr.    Kvasnicka's

  assumptions absent evidence suggesting: (1) that one or more of

  such prior crossings was in fact "safe to cross" without mitigation

  procedures; or (2) that Mr. Kvasnicka's input variables were more

  conservative than is accepted in the industry.20               Notably, Mr.


    Because it is not even "known" that the proposed crossing location is in
  fact such favorable soil type (rather than a less favorable type, such as
  "topsoil" or "clay"), it would be eminently reasonable, based on the trial
  evidence presented in this case, to use a "conservative" estimate of 100
  lbs/ft^ in the absence of actual soil data because such figure is consistent
  with the estimated "range" of soil weights in the software guidelines (90-
  100 lbs/ft^) for such favorable soil type.

     Engaging in speculation about unknown prior crossings is dangerous,
  because such prior crossings could have had far shallower pipelines, or any
  one of a number of other factors that dictated the result of the wheel-load
  calculations.   The Court similarly places limited weight on Dr. Roby's
  contention that a "Canadian study" documenting rare instances of vehicular
  weight damaging buried pipelines empirically establishes that roads do not
  pose a significant risk to underground pipelines. Notably, it is not only
  possible, but probable, that road crossings rarely result in damage to
  buried gas transmission pipelines because industry practitioners like Mr.
  Kvasnicka work to ensure that permanent road crossings are not constructed:
  (1) over damaged or weakened pipelines; and/or (2) in a manner that risks
  a catastrophic explosion or other danger to the community.           Stated
  differently, it is relatively unremarkable to suggest that vehicular weight
  rarely causes gas pipeline failure in an industry highly regulated by the
  federal government in which every effort is made to ensure that vehicular

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  Kvasnicka relied on his ''training and experience" in the relevant

  field, which includes experience at a pipeline regulatory agency,

  and he freely admitted that, based on the risks involved, he errs

  on the side of conservatism.          Without more compelling contrary

  evidence from an expert in the relevant field(s), this Court is

  not convinced that Mr. Kvasnicka's conservative assumptions were

  \mwarranted, inaccurate, and/or unduly conservative.

         In ruling in Columbia's favor on this issue, the Court notes

  that Mr. Kvasnicka appropriately considered, as one data point,

  the fact that the Pipelines in question have not been physically

  inspected in approximately 60         to 70    years,    and     that although

  Columbia's testing measures (including "pig" data) are accepted as

  reliable in the industry, they do not eliminate as a variable the

  possibility that the Pipelines are in a degraded state (meaning

  that   they   may   be   more   susceptible   than   a   newly    manufactured

  pipeline would be to the danger from vehicular weight) particularly

  when the most recent "pig" data is approximately five years old.

  That said, had the trial evidence established that the Pipelines

  were "safe to cross" based on the actual soil conditions and/or

  proof of appropriate assumptions, all other things being equal,

  the Court would not likely have accepted Mr. Kvasnicka's position




  weight does not cause pipeline failure.

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  that mitigation measures costing hundreds of thousands of dollars

  are necessary.


       Having largely accepted Columbia's evidence regarding the

  added risk of vehicular weight, the Court must consider whether

  such added risk constitutes an          unreasonable interference."       In

  addressing such question, the Court need not compartmentalize the

  alleged impacts from the proposed crossing, which most notably

  include the increased risk of damage due to vehicular weight and

  the delay and cost involved in excavating the proposed *^dead-end"

  asphalt road.     To the contrary, the impacts proven by Columbia

  will collectively result from Grove's proposed crossing, and it is

  therefore appropriate to consider these matters collectively in

  determining whether Columbia has demonstrated that the proposed

  crossing, constructed without excavation and the installation of

  flowable fill to protect the Pipelines from vehicular weight, will

  create a material encroachment that unreasonably interferes with

  Columbia's easement rights.         Considering the wheel-load risk,

  combined with the unrefuted evidence establishing that the asphalt

  road will cause both an added delay, and added expense, to any

  repairs {with such delay and expense exacerbated by the fact that

  the dead-end crossing is the only manner of ingress/egress to the

  proposed development),       the Court concludes         that Columbia has

  demonstrated    that   the   proposed    crossing   is    an   ^'unreasonable

  interference."    Critically, Grove's current crossing plan not only

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  asks Columbia to shoulder an unreasonable risk to the integrity of

  its Pipelines from vehicular weight, but seeks to place Columbia

  in   a    position      that      delays    Columbia's          ability    to    access      its

  Pipelines should future damage occur.                  Such delay could include a

  delay of several hours to secure necessary equipment in the rare

  event of an emergency dig, and would include a delay (also measured

  in hours) caused by the need to remove the asphalt road and a delay

  caused by the absence of any alternative access routes.

           Consistent       with    prior     cases    where       pipeline       lowering     or

  ''encasement"      was     deemed necessary,          the       resolution      of     disputed

  facts at trial reveals that mitigation measures are necessary in

  this     case.     Because        Grove    refused    to    finance       such     mitigation

  measures,        and   because     the     crossing,       as    proposed,      would    cause

  irreparable        harm     to    Columbia's       right    to       safely   maintain       its

  Pipelines, the Court grants Columbia's request for an injunction

  precluding Grove from constructing a road crossing without first

  paying for, at a minimum, excavation and installation of flowable

  fill     in   order    to    mitigate      and/or     eliminate         the     risk    to   the

  Pipelines due to the increased burden of vehicular weight.21


    The Court does not separately address the propriety of Columbia's related
  demand that Grove also pay for the "stripping" of the coating from the
  excavated Pipelines (and subsequent recoating) in order to permit a visual
  inspection of the Pipelines' integrity. Although the age of the Pipelines
  appears to be a relevant consideration in determining the likelihood that
  vehicular traffic may pose a danger to the integrity of such Pipelines, it
  remains unclear from the record before the Court whether Grove should be
  financially responsible for Columbia's desire to perform a visual inspection
  of   its own decades'       old   transmission lines in          a    case where     every non-


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                         3. Comment on Testing/Repairs

       Because this Court finds that Columbia has carried its burden

  to   demonstrate        that     the     case-specific           proposed       crossing

  constitutes an "unreasonable" interference when both wheel-loads

  and access delays are considered in tandem, the Court need not

  squarely    address     the     parties'       dispute    regarding       whether     the

  asphalt crossing (irrespective of wheel-load calculations) itself

  constitutes    an     unreasonable      interference.            While   this   Court's

  comments on such issue are therefore dicta, they are presented for

  the purpose of        transparency in light of              the fact        that   these

  specific parties may continue to dispute such issue in further

  negotiations, and because there appears to be limited precedent

  addressing the "reasonableness" of access delays caused by asphalt

  road crossings.22



  invasive objective test that Colmnbia has performed has revealed that the
  Pipelines are in good condition (or at a minimum, were in good condition
  five years ago when they were last "pigged"). Stated differently, to the
  extent that excavating the Pipelines and installing flowable fill eliminates
  nearly every question mark regarding the threat of additional weight from
  vehicular   traffic   because    such   fill    will   provide    100%   compaction   and
  effectively distribute vehicular weight in a manner that can be
  scientifically proven to not introduce unacceptable stress on the Pipelines,
  there may not be a valid legal justification for Columbia to shift the
  burden to a developer to finance stripping the coating, and later recoating,
  the section of Pipelines at issue in order to allow Columbia to visually
  inspect its own decades' old lines. Such more nuanced question (whether
  the flowable fill sufficiently counteracts the risk introduced by the
  developer so as to reasonably approach the status quo) was not squarely
  before the Court because Grove's proposed crossing involved no excavation
  of any kind (other than the minimal excavation needed to safely "bore" the
  water-line under the transmission Pipelines).

    Cf. Mid-Am. Pipeline Co. v. Lario Enterprises, Inc., 942 F.2d 1519, 1527
  (10th Cir. 1991) (finding that multiple asphalt racetracks, which were as

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        Here,     the    undisputed        evidence        demonstrates        that    Grove's

  proposed crossing would render Columbia's right of way minimally

  less convenient because it impacts Coliambia's ability to conduct

   close interval surveys" and would prevent Columbia from accessing

  its Pipelines without first removing a portion of the asphalt road.

  At the risk of stating the obvious, the trial evidence established

  that it is more costly and time consuming to excavate an asphalt

  road than to excavate an open field, particularly if such road is

  the sole means of access to a residential development.^3                            All that

  said, there was no evidence suggesting any likelihood that a repair



  wide as 60 feet, and involved increasing the "cover" over the pipelines to
  as deep as 20 feet (the pipelines were originally 3 to 4 feet deep),
  "materially interfere[d]" with the operation of the pipelines, but finding
  that chain link fences and concrete barriers weighing 8,000 pounds each did
  not unreasonably interfere          as    they were "readily movable"); Enbridge
  Pipelines (Ozark), LLC v. Bailey, No. 09-CV-117-TCK-PJC, 2009 WL 2175587,
  at *4 (N.D. Okla. July 14, 2009) (granting a preliminary injunction ordering
  the removal of 10-15 feet of excess fill material, noting that such fill
  both prevented adequate monitoring and delayed access to a section of the
  pipeline with identifiable past integrity issues, but declining to order
  the removal of 1-2 feet of excess fill located over a different section of
  the pipelines); Columbia Gas Transmission, LLC v. Haas, — F. Supp. 3d --,
  No.   CV   TDC-17-1147,     2018   WL    4387562,   at    *8   (D.    Md.   Sept.   14,   2018)
  (concluding,    at    the   summary judgment stage,            that    Columbia     failed   to
  establish that a tree within the pipeline easement "would impose an
  unreasonable burden on Columbia Gas's ability to operate and maintain the
  pipeline," in a case where the defendant's evidence indicated that such tree
  could cause an approximately one to eight hour delay to emergency pipeline
  repairs); Texas E. Transmission LP. v. Bowers, 65 F. App'x 791, 795 (3d Cir.
  2003) (affirming the "district court's determination that the additional
  ten hours (at the outside) to repair the pipeline [as a result of a tree's
  presence] is only a 'minimal burden' and that the continued presence of the
  Tree will not significantly interfere with emergency repair of the
  pipeline").

    In light of the fact that Grove's proposed crossing is immediately adjacent
  to an existing paved road, the Court seriously questions Dr. Roby's
  suggestion that the proposed crossing would improve Columbia's ability to
  rapidly transport the excavation equipment needed to access its Pipelines.

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  will become necessary on the small section of Pipelines (26 feet)

  that Grove proposes to cover with an asphalt road, and in fact,

  there is     contrary   evidence suggesting     that   the Pipelines    in

  question are in good condition with no known wall thinning,

  corrosion, or other defects.

        In support of its contention that the road, by its nature, is

  an unreasonable interference,       Columbia maintains     that Virginia

  case law evidences a ''strict" concept of interference, as reflected

  in cases involving easements for ingress and egress.            See, e.g..

  Willing v. Booker, 160 Va. 461, 465-66, 168 S.E. 417, 418 (1933)

  (discussing Virginia case law holding that "carts, sleds, and other

  chattels," and in some circumstances fences and gates, located

  within a right of way are improper because they either encroach

  upon its defined width or make the way "less convenient and

  beneficial    than   before")   (citations    omitted).      This   Court,

  however, notes that while Virginia cases involving obstructions in

  an easement of defined width for the purpose of ingress and egress

  are instructive, it appears that an analytical difference is

  present with an underground pipeline easement.            Notably, in an

  ingress/egress    case,   the   dominant    land-owner    has   first   and

  foremost contracted for free and unobstructed above-ground use of

  a defined width of land, and thus, buildings, fences, mulch piles,

  and other obstructions that narrow such an easement may be viewed

  as a "per se" unreasonable encumbrance.       In contrast, the easement

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  at issue in this case, first and foremost, conveys the rights

  necessary to maintain an underground utility line, and expressly

  reserves to the servient estate holder the right to fully use and

  enjoy the surface, as long as such use does not unreasonably

  interfere with the dominant estate holder's rights.                  While Columbia

  must retain reasonable access to the width of the easement for the

  purpose of accessing and maintaining its Pipelines, unlike an

  ingress/egress easement, it is highly doubtful that a small "mulch

  pile" located on Columbia's easement would constitute a "material"

  encroachment amounting to an unreasonable interference.

        Such concept was recently recognized by the Supreme Court of

  Virginia in a case where the roles were reversed, as it was the

  servient     estate    holder   that   wanted      to       maintain    underground

  "enc\ambrances" beneath a right of way that guaranteed the dominant

  estate holder use of the surface for vehicular ingress/egress.                     In

  addressing the dispute as to whether the underground encumbrances

  were "per se" unreasonable because the easement was of a defined

  width, the Supreme Court of Virginia explained as follows:

        [Virginia case law] establish[es] that a servient
        landowner may not effectively narrow the defined width
        of an easement by placing obstructions amounting to a
        material encroachment on the dominant owner's rights,
        even   when     the   encroachment    does   not       interfere      with
        ingress   and    egress   at   that   time.       .    .   .     In   [the
        Plaintiffs'] view, every encroachment,                 no matter how
        minor, is material when the easement is                 of an express
        width.   We do not agree. Our cases make               clear that the
        owner of a servient estate may still make              reasonable use
        of land burdened by an easement of defined width.                      An

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       encroachment       that    does   not    narrow     the   width   of   an
        easement or unreasonably interfere with its use is not
        a material encroachment.


  Piney Meeting House Investments/ Inc. v. Hart, 284 Va. 187, 194,

  726 S.E.2d 319, 323 (2012) (internal quotation marks and citations

  omitted).

       This Court fully acknowledges that Columbia's ability to

  maintain its underground Pipelines necessarily requires various

  restrictions on above-ground uses, likely including a prohibition

  on adding fifteen feet of excess fill, growing large trees with

  deep roots directly over the Pipelines, or building a house, barn,

  or other permanent enclosed structures.                  However, whether a two-

  lane perpendicular asphalt road covering only twenty-six feet of

  Columbia's Pipelines is a sufficiently material encumbrance to

  render Columbia's easement ''less useful or less convenient" is not

  subject to a "per se" analysis, but rather, is a question for the

  factfinder      at   trial,    and   "the    test   is   reasonableness."        Id.

  (internal quotation marks and citations omitted).




     The Court recognizes the cases, from within Virginia and from other
  jurisdictions, concluding that trees and other large vegetation can
  materially obstruct a pipeline company's ability to conduct aerial
  surveillance seeking to detect leaks and/or surveillance to ensure that the
  right of way is not being used by landowners in a manner that could
  compromise the integrity of the pipelines. Moreover, in certain scenarios,
  tree roots may pose a danger to the integrity of the pipelines and permanent
  enclosed structures within the easement may introduce the risk of gas buildup
  leading to a deadly explosion.     These issues, however, are factually
  distinguishable from the two-lane perpendicular asphalt crossing at issue
  in this case.


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       Having carefully listened to the trial testimony, the Court

  continues     to   doubt    whether     Columbia     established       that     the

  exceedingly minor impact on ''close interval" cathodic testing, or

  minimal delays to hypothetical repairs, constitute "unreasonable

  interference," assuming, of course, that the evidence otherwise

  establishes    that   a    crossing    was   "safe"      based   on   wheel-load

  calculations.       As    summarized    above,     the    case-specific       facts

  demonstrated that: (1) the proposed road would have a de minimis,

  if any, impact on aerial surveillance, "pig" testing, or cathodic

  testing at defined stations, and that the impact on the "close

  interval" cathodic testing is very minor; (2) there is no history

  of damage or deterioration, and there has been no other reason to

  access the Pipeline segments in question over the last six to seven

  decades, with all of Columbia's available data from various testing

  methods   indicating      that   the   Pipelines    are    presently    in     good

  condition;    (3) while     the age     of   the   Pipelines is       a relevant

  consideration, it is not a significant enough factor for Columbia

  to deem it necessary to excavate and visually inspect the integrity

  of its Pipelines even though they are immediately adjacent to an

  elementary school and in a "high consequence area"—rather, for all

  intents and purposes, Columbia trusts, and expects the public to

  trust, the accuracy and reliability of its existing test results;

  (4) the proposed asphalt crossing could delay a scheduled repair

  by approximately four hours and an emergency unscheduled repair by

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  an additional four hours, although Columbia's expert has never

  participated in the latter; (5) in the event of a repair, gas is

  generally kept flowing unless there is a leak or another reason to

  believe that there is an unacceptable risk;25 (6) Columbia has a

  proven track record of maintaining its Pipelines under asphalt

  crossings; and (7) in light of the nature of the proposed crossing,

  its proximity to a large metropolitan area, and other relevant

  facts,    the   equipment    necessary       to   excavate   Grove's   proposed

  asphalt road is reasonably available.             In sum, the Court does not

  formally decide whether the impact on testing/access is alone

  sufficient to constitute        unreasonable interference," but notes

  that the case-specific evidence raises substantial questions as to

  whether Columbia could carry its burden to establish such degree

  of interference.


                     4. Conclusion/STixomary of Findings

        Having found that Grove's proposed crossing, if constructed

  without    mitigation       measures,    would      constitute    a    material

  encumbrance that unreasonably interferes with Columbia's lawful

  right to safely maintain and repair its Pipelines {thus rendering

  Columbia's easement less useful and less convenient), the Court

  finds that an injunction is warranted in this case.              See Snead v.



    Even if the gas needs to be shut off for the entire dig, there was no
  evidence presented at trial reflecting whether digs are conducted **around
  the clock," or whether the work schedule can simply be extended on the first
  day by the additional time necessary to remove the asphalt road.

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  C & S Properties Holding Co., 279 Va. 607, 616, 692 S.E.2d 212,

  216 (2010); Pizzarelle v. Dempsey, 259 Va. 521, 530-32, 526 S.E.2d

  260, 265-66 (2000).       To the extent that further analysis on the

  propriety of an injunction is necessary, Columbia has effectively

  demonstrated that the crossing, if constructed without mitigation

  measures, would cause irreparable harm in the form of a material

  encroachment that threatens physical harm to the Pipelines, risks

  the public safety, and compromises not only Columbia's ability to

  repair the damage caused by vehicular traffic, but also compromises

  its ability to safely transmit an uninterrupted supply of natural

  gas to the Tidewater region.        See Shenandoah Acres, 256 Va. at

  342, 505 S.E.2d at 371 (indicating that an ''injunction prohibiting

  an interfering use" of an easement is appropriate "when the harm

  from the interfering use is irreparable and cannot be adequately

  addressed in damages").       Moreover, further consideration of the

  relevant "equities" supports Columbia's requested relief because

  Columbia's bargained for easement rights as the dominant estate

  holder, as well as the public interest in safeguarding underground

  high-pressure natural gas       transmission lines, vastly outweigh

  Grove's   interest   in   saving   money   by   constructing   an   asphalt

  crossing without necessary mitigation measures.



    As suggested herein, had case-specific evidence effectively demonstrated
  that Grove's proposed surface activities would not endanger the integrity
  of the underground Pipelines, nor materially obstinact/delay access to such
  Pipelines, the balancing of the equities would likely yield a different

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        For the reasons stated herein, the Court GRANTS Columbia's

  request for a declaration that the crossing as proposed by Grove,

  would violate Columbia's rights under the ROW Agreements, and that

  Grove is therefore enjoined from building its proposed crossing in

  accordance with its submitted plans, which did not include the

  installation of mitigation measures, including, most importantly,

  ''flowable fill" installed to ensure that vehicular weight does not

  damage the buried pipelines.

        The Court DENIES Grove's request for declaratory relief that

  would permit Grove to proceed with the development as proposed.

  For the same reasons discussed herein. Grove has failed to carry

  its   burden   to   demonstrate   that    it is   entitled   to   declaratory

  relief.   The Court makes this finding because the proposed road,

  if constructed without the mitigation measures necessitated by the

  case-specific       conditions,   would    unreasonably      interfere   with

  Columbia's easement rights.

        The Clerk is REQUESTED to send a copy of this Opinion and

  Order to all counsel of record.


        IT IS SO ORDERED.




                                                        /s
                                                     Mark S. Davis
                                      CHIEF UNITED STATES DISTRICT JUDGE
  Norfolk, Virginia
  January S      / 2019

  result.


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